Case 5:

APACHE BUSINESS COMMUTTRE
Louli Maysahonsh » Chairwuny

Vacam - Vico Chalman

Marquita Carattini « Seenetury Treasure
Lyman Guy, Tribal Admiaisiralor

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Resolution of the Apache Business Committee Approving the execution of a Development
Agreement with FSS Development Company, L.L.C. for the development of a gaming
facility for the Apache Tribe of Oklahoma on Apache Indian lands held in trust by the

United States of America
RESOLUTION NO. _ABC 12-20-2010-01
WHEREAS: The Apache Tribe of Oklahoma is a federally-recognized Indian Tribe, organized

WHEREAS:

WHEREAS:

WHEREAS:

WHEREAS:

WHEREAS:

WHEREAS:

pursuant to the Thomas-Rogers Oklahoma Indian Welfare Act, and has a
Constitution approved by the Secretary of Interior; and

The Business Committee has the power to transact business and otherwise speak
or act on behalf of the Tribe in all matters on which the Tribe is empowered to act
pursuant to Article V of the Tribal Constitution; and

On December 4, 2010, a Special General Council meeting was convened to
consider the development of a gaming facility on Apache Tribe of Oklahoma
lands near the Oklahoma/Texas border to be called the Red River Project; and

The Special General Council adopted a motion “to approve the Business
Committee to move forward on the Red river Project in negotiations with an
investor and the Stimulus Package to include the Contract Signing that is in the
best interest of the Apache Tribe of Oklahoma; and

The Business Committee has identified a certain parcel of real property, located
in Cotton County, Oklahoma (the “Property”); and

The Property is a public domain allotment, known as the Richard Kosope
Allotment, Allotment Number: APA 3279-2: and

The records of the Bureau of Indian Affairs, United States Department of the
Interior demonstrate that all of the heirs of the original allottee, Richard Kosope,
that presently own an undivided interest in the Praperty are enrolled members of
the Tribe; and

 

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WHEREAS: the Tribe exercises jurisdiction and governmental power and control over the
Property, and as such, the Property qualifies as “Indian Lands” within the scope
and meaning of the Indian Gaming Regulatory Act of 1988 (the “IGRA"); and

WHEREAS: The Business Committee has determined that FSS Development Company, L.L.C,
should be named as developer of the Red River Project and has negotiated a
Development Agreement conferring upon FSS Development Company, L.L.C. the
tight to develop the Red River Project.

NOW, THEREFORE, BE IT RESOLVED, that the Business Committee of the Apache Tribe
of Oklahoma authorizes Louis Maynahonah, Chairman to execute the attached Development
Agreement with FSS Development Company, L.L.C. consistent with the directive issued to the
Business Committee by the Apache Tribe General Council at a Special General Council held on

December 4, 2010.
CERTIFICATION
The foregoing resolution was adopted at a duly called meeting of the Apache Business

Committee on December 20, 2010, by a vote of _3 For; 0 Against; and 0 Abstaining, a
quorum being present. .

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¥OUIS MAYNAHONAH, chairman

ATTEST:

Manouy 5 CARATTINI, Secretary/Treasurer

 
